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IN THE UNITED STATES DISTRIC
FOR THE WESTERN DISTRICT OF T
WESTERN DIVISION

 

ROBERT DAVIS,

JUANDELLA CRUZ,

FRANKLIN FERGUSON,

WAYNE BOSTIC,

JOHNNY RAY PARR,

KENNETH BERNARD CULP,
JOHNNY L. PHILLIPS,

SAMUEL ANDREW LEMAR, and
MARCUS FLOYD,

acting on their behalf and
on behalf of others similarly
situated,

Plaintiffs,

v. No. 93-2004 Ml
TED SUTTON, in his personal
capacity and in his official
capacity as Sheriff of
Lauderdale County, and

H. GWINN MATTHEWS, in his
personal capacity and in his
official capacity as County
Executive for Lauderdale County,
and THE LAUDERDALE COUNTY

BOARD OF COMMISSIONERS,

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Defendants.

 

ORDER FOLLOWING HEARING

 

On March 31, 2005, the Court issued its Order Granting
Plaintiffs’ Motion to Cite Defendants for Contempt of Court. In
particular, Defendants Were found in contempt of Court for
failing to comply the with the provision of the Consent Final
Order Dismissing Case, and Granting Permanent Injunctive Relief

(“1998 Consent Order”) concerning the use of chemical agents on

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with Ru|s 58 and/or 79{a) FRCP on 5 ° 312 ' O§ @

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inmates at the Lauderdale County Jail.l (Consent Final Order
Dismissing Case, and Granting Permanent Injunctive Relief, Apr.
l, 1998, (Docket No. 173.)) On Friday, May 20, 2005, the Court
held a purgation and damages/compensation hearing.

During the hearing, the Court heard testimony concerning the
Defendants' plans to comply with the 1998 Consent Order. The
parties, by consent, agreed to the following preliminary schedule
regarding the purgation process:

- Defendants shall submit a detailed blueprint of

policies and procedures to come into compliance with
the 1998 Consent Order by Mondav, June 20, 2005.
Plaintiffs shall then have an opportunity to submit
objections to the detailed blueprint.

~ Defendants shall submit a final remedial plan to come

into compliance with the 1998 Consent Order by Mondayl
August 1l 2005. Plaintiffs shall have twenty one (21)

days to submit objections to the final remedial plan.

 

‘ This provision specifically provides that:

Defendants may only use “Freeze,” mace, or other
chemical agents when absolutely necessary to prevent
harm by an inmate to another person or to prevent
substantial property damage. Freeze, mace and other
chemical agents may never be used as a form of inmate
discipline. The Defendant Sheriff shall insure that
all jail personnel are properly trained in the proper
use of Freeze, mace and other chemical agents, which is
consistent with this order.

(Consent Final Order Dismissing Case, and Granting Permanent
Injunctive Relief, Apr. 1, 1998, (Docket No. 173), at 4.)

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o The Court shall hold a hearing to approve the final
remedial plan on Friday, August 12, 2005, at 3:00 p.m.

~ The preliminary monitoring period concerning
Defendants' implementation of the final remedial plan
shall end on Monday, Mav 1, 2006.

The Court hereby reserves its determination on the question
of purgation pending the completion and observation of
Defendants’ remedial plans.

During the hearing, the Court also appointed, by consent,
Mr. Charles Glover Fisher, V., to serve as a Special Master in
this case under the Prison Litigation Reform Act (“PLRA”)
effective May 21, 2005.2 In addition, the Court STAYED McCage v.
Lauderdale Countv, No. 05-cv-2328 Ml/An (W.D. Tenn. filed May 3,
2005) pending determination on the question of compensatory
damages for the injuries sustained by inmates Ernie R. McCage,

Leman Russell and Latonia Eisom.

so ORDERED this Q€ y day OK:,QMWTQ"QQ`

JON P. MCCALLA
UN ED STATES DISTRICT JUDGE

 

 

2 In a prior order issued on April 11, 2005, the Court re-
appointed Mr. Fisher to serve as a Special Master in this case.
(Order Following Telephone Conf., Apr. 11, 2005, (Docket No.
196.), at 2.) During the hearing, however, it came to the
Court’s attention that Mr. Fisher was serving as an expert
witness for Plaintiffs on the date that order was issued and
continued to serve as an expert for Plaintiffs through the date
of the hearing, The parties therefore agreed, by consent, that
May 20, 2005, was the last date Mr. Fisher would serve as an
expert for Plaintiffs.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 204 in
case 2:93-CV-02004 Was distributed by faX, mail, or direct printing on
May 26, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

